Case 4:20-cv-03919-CW   Document 979-1   Filed 06/06/25   Page 1 of 10




            EXHIBIT A
         Case 4:20-cv-03919-CW         Document 979-1     Filed 06/06/25   Page 2 of 10




College Athlete Compensation Settlement
                                   OPT OUTS HOUSE
           Count                                    353

               ClaimID                   First1                   Last1
        1      10185748201 AARON                           HOLIDAY
        2      10183380501 AARON                           SABATO
        3       9000008601 AARON                           SCHUNK
        4      10064367001 AARON DEVON                     EPPS
        5      10575357901 AARON JOSHUA                    NESMITH
        6      10298903501 AASHARI                         CROSSWELL
        7      10266507201 ABIGAIL                         HOOD
        8      10168453801 ABIGAIL                         SIMINSKI
        9      10169368001 ADAM                            KUNKEL
       10      10095957001 ADDISON                         OOMS
       11      10264966201 ADRIAN                          DEL CASTILLO
       12      10132544701 AIDAN                           ROBBINS
       13      10105793301 AKAYLEB AI                      EVANS
       14      10117632601 ALARIC                          JACKSON
       15      10624939301 ALERICK                         SOULARIE
       16      10132110701 ALEVA                           HIFO
       17      10293841601 ALEX                            FONTENOT
       18      10327506001 ALEX JEFFREY                    HORNIBROOK
       19      10429454101 ALEXANDER                       BACHMANN
       20      10072300701 ALEXANDER CARL                  SHAW
       21      10301716101 ALEXANDER JORDAN                PERRY
       22      10059430001 AL‐MALIK                        HAUSMAN
       23      10551825601 AMANI                           ORUWARIYE
       24      20000646501 AMARI                           CATCHINGS
       25       9000045201 AMARVEER                        SINGH
       26      10272678401 AMBER C                         MELGOZA
       27      10132381501 AMMON                           HANNEMANN
       28       9000013601 ANDREW                          ABBOTT
       29      10105591201 ANDREW STEPHEN                  LOCK
       30      20001783101 ANTHONY                         GILL
       31      10174446801 ANTHONY                         GOULD
       32      10059595901 ANTHONY                         PANDY
       33      10266685401 ASA                             LACY
       34      10138756801 AUSTIN                          SEIBERT
       35      10670843001 AUSTIN CEDRIC                   MONTGOMERY
       36      10073653101 AVA JOYCE                       ANDERSON
 Case 4:20-cv-03919-CW      Document 979-1   Filed 06/06/25   Page 3 of 10


37    10130570901 AZEEZ O                     OJULARI
38    10132309801 BAYLOR                      ROMNEY
39    10122106001 BELLA SARA KRISTIANA        FISCO
40    10132370001 BENJAMIN                    BYWATER
41    60013067301 BENJAMIN                    RICHARDSON
42    10081666601 BENJAMIN JAMES              BOULWARE
43    10132377301 BLAKE                       FREELAND
44    10132286001 BRACKEN                     EL‐BAKRI
45    10264683101 BRADLEY                     KAAYA
46     9000044001 BRADY                       MCCONNELL
47    10215885001 BRADY                       OCONNELL
48    10132091701 BRAYDEN                     ELBAKRI
49    10264679001 BREVIN                      JORDAN
50    10292247001 BRITTANY                    BREWER
51    60014250701 BRYAN                       SCHOR
52    10423123301 BRYCE P                     LOVE
53    10672726601 BRYCE RAYMOND               NZE
54    10406819001 CADE MICHAEL                MCNAMARA
55    10289394901 CADE P                      CUNNINGHAM
56    10093737801 CADEN                       HAWS
57     9000004501 CAITLIN S                   DRISCOLL
58    10138853601 CALEB                       WILLIAMS
59    10074765601 CAMERON                     ECHOLS‐LUPER
60    10098444701 CAMERON                     KRUTWIG
61    10089020901 CAMERON                     TAYLOR BRITT
62    10577546001 CAMERON                     VALLADARES
63    10271516601 CAMERON DAVID               SERIGNE
64    10256068701 CAMERON JAMES               RISING
65    10146449601 CARMEN ALEXANDER            MLODZINSKI
66    10266372501 CARSON                      GREEN
67    10537993101 CARSON                      STRONG
68    50004102401 CARTER                      CUNNINGHAM
69    10267690201 CASSIUS JEROME              STANLEY
70    10279788201 CAYDEN B                    WALLACE
71    10107554601 CHAD                        KELLY
72    10115364801 CHARLES                     MATTHEWS
73    10131242801 CHARLES KENT                WOERNER
74    10265213201 CHARLESTON                  RAMBO
75     9000037401 CHASE                       STRUMPF
76    10132279301 CHAZ                        AH YOU
77    10183911001 CHAZZ                       SURRATT
78    10147798301 CHLOE LEE                   KITTS
79     9000011001 CHRIS                       MCMAHON
80    10119475401 CLEVELAND ALAN              JACKSON
  Case 4:20-cv-03919-CW    Document 979-1   Filed 06/06/25   Page 4 of 10


 81    10181757501 COLBY                     PARKINSON
 82    10267103501 COLTON                    PRATER
 83    10244072401 CONNOR FRANCIS            PRIELIPP
 84    10304358501 CORNELIS                  VAN EYK
 85     9000012301 CURTIS                    WEAVER
 86    10264461501 DAMUZHEA                  BOLDEN
 87    10072106001 DANIEL VIRGIL             MILLS
 88    10119482101 DAVID                     BELL
 89    10250173701 DAVION KNEAL              ERVIN‐POINDEXTER
 90     9000022701 DAVIS MCKEE               WENDZEL
 91    10132342601 DAX                       MILNE
 92    10399824001 DAXTER                    MILES
 93    10292504501 DEMARCUS                  FIELDS
 94    10535880001 DEMETRIS                  HARRIS
 95    10248268801 DENZEL R                  MIMS
 96    10259482001 DEONTAY                   ANDERSON
 97    10399792101 DEREK                     CULVER
 98    10617204901 DERRICK                   BARNES
 99    10292998101 DERRICK                   WHITE
100    10068863901 DESTINY                   SLOCUM
101    10031731501 DIBAJI                    WALKER
102     9000039001 DIXIE                     WOOTEN III
103     9000041101 DONELL                    PASTER
104    10406872301 DONOVAN                   PEOPLES‐JONES
105    10461244701 DONOVAN JOHN              CLINGAN
106    10115393401 DONTAIE                   ALLEN
107    60013159901 DONTE                     INGRAM
108    10081682401 DORIAN SCOTT              ODANIEL
109    10174134001 DREW                      EUBANKS
110    10407075401 DUNCAN                    ROBINSON
111    10243871701 DYLAN M                   SMITH
112    10132258601 EARL                      MARINER
113    10577020601 EDGAR                     BURROLA
114    10022943801 ELIJAH                    BLADES
115    10682167201 ELIZA                     EKSTRAND
116    10265601001 ELLE                      MEZZIO
117    10088111701 EMMA                      ROWLAND
118    10669726201 EMMALINE M                EKSTRAND
119    10096015701 ERIC                      STRIKER
120    10108474201 ERICK                     HALLETT
121    10427953901 ERICK BERNARD             NEAL
122    10584208401 ERIK                      STEVENSON
123    10585939401 EVERETT                   HUNTER
124    10236602001 FILIP                     PETRUSEV
  Case 4:20-cv-03919-CW    Document 979-1   Filed 06/06/25   Page 5 of 10


125    10282698501 FRANK                     MASON
126    10407087001 FRANZ JACOB               WAGNER
127    10138382401 GABE                      BRKIC
128    10093788301 GABREYL SALE AH YOU       SUMMERS
129    10093002501 GAVIN                     CROSS
130    10558999801 GRANT                     HALEY
131    10301568101 GREGORY MICHEAL           FRANCIS
132     9000023001 GRIFFIN                   CONINE
133    10132347501 GUNNER                    ROMNEY
134     9000040901 HANNAH                    CROFUT
135    10132299901 HARRIS                    LACHANCE
136    10297108001 HARRY                     ALLEN
137    10228253501 HASAHN                    FRENCH
138    10670832601 HASHEM                    ASADALLAH
139    10132254901 HAYDEN                    LIVINGSTON
140    10148109301 HAYDEN RANDLE             HURST
141    10308612201 HAYDEN THOMAS             HOWERTON
142    10176924601 HUNTER                    LONG
143    10059357401 HUNTER ALEXANDER          ECHOLS
144    10113611001 HUNTER HARKINS            BARCO
145    10407039001 HUNTER RYAN               DICKINSON
146    10641051901 IKEM                      OKEKE
147    10132393101 ISAAC                     REX
148    10132134001 ISAIAH                    KAUFUSI
149    50004112101 ISHMAEL                   HYMAN
150    10132337201 JACKSON                   KAUFUSI
151    10272933501 JACOB                     BROWNING
152    10273003901 JACOB                     EASON
153            TBD JACOB                     EVANS
154    50018889001 JACOB                     HUFF
155    10181975401 JACOB                     LOWE
156     9000036101 JACOB                     MCCARTHY
157    10132262801 JACOB                     OLDROYD
158    10060818801 JACOB B                   CURHAN
159    10561625401 JACOB THOMAS‐MICHAEL      COX
160            TBD JAIME                     JAQUEZ JR
161    10271230001 JAKE MATTHEW              BENZINGER
162    10259328001 JAMAL                     SHEAD
163    10132287201 JAMES                     EMPEY
164    10108582501 JAMES                     MORRISSEY
165    10399833001 JAMES                     OKONKWO
166    10248570701 JAMES H                   LYNCH
167    10338679801 JAMES K                   BLACKMON
168    10115744701 JAMES LANDON              YOUNG
  Case 4:20-cv-03919-CW    Document 979-1   Filed 06/06/25   Page 6 of 10


169    10168550601 JAMISON ATHENS            GORDON
170    10266489401 JARED                     HOCKER
171    10132296301 JARED                     KAPISI
172    10558965201 JASON                     CABINDA
173     9000007301 JASON                     PRESTON
174    10071952101 JAWON CORTEZ              JOHNSON
175    10273007601 JAXSON                    KIRKLAND
176    10448489501 JAYDEN                    CURRY
177    10174287301 JAYDON                    GRANT
178    10107952701 JAYLON                    ROBINSON
179    10267671901 JAYSON                    TATUM
180    10278942301 JEREMIAH J                LEDBETTER
181    10399801901 JERMAINE                  HALEY
182    10119661101 JERRON NEHEMIAH           CAGE
183    10072511901 JIMMY                     BELL
184    10271615801 JOHN                      COLLINS
185    10115270001 JOHN                      RHODES
186    10411288801 JOHN MICHAEL              SCHMITZ
187    10327022001 JOHN STEPHEN              CICHY
188    10271590701 JOHN THOMAS               WOLFORD
189    10354014301 JOHNNY                    JUZANG
190    10132213601 JONAH                     TRINNAMAN
191    10132154501 JONATHAN                  LINEHAN
192    10624822401 JORDAN                    BECK
193    10399822601 JORDAN                    MCCABE
194    10267680001 JORDAN LEWIS              TUCKER
195    10181709501 JOSE                      ARCEGA‐WHITESIDE
196            TBD JOSH                      SMITH
197    10323348901 JOSH JAMES                WHYLE
198    10115747201 JOSHUA                    ALI
199    10160109801 JOSHUA ANDREAS            PIERRE‐LOUIS
200    10064645101 JOSHUA NOAH               GRAY
201    10297394501 JULIUS                    BRENTS
202    10132444301 JUSTEN DEAN               SMITH
203    20000008901 JUSTIN                    RAGIN
204     9000042401 KAHLIL                    JOHNSON
205    10119512601 KAMERON DREW              WILLIAMS
206    10168563401 KARISSA ROSE              QUENICHET
207    10095954401 KATELYN                   OHASHI
208    10118798101 KATHLEEN                  DOYLE
209    10182876701 KATHRYN                   MEYER
210    10288431601 KATHRYN E                 WESTBELD
211    10267399801 KEATON                    SUTHERLAND
212    10132232001 KEENAN                    ELLIS
  Case 4:20-cv-03919-CW    Document 979-1      Filed 06/06/25   Page 7 of 10


213    10303728701 KEIR                         THOMAS
214    10419992101 KELLAN                       GRADY
215    10181753801 KEVIN                        COSTELLO
216    10266791301 KEVIN                        MARFO
217    10174670201 KEVIN TYLER                  ABEL
218    10576958701 KHALIL                       TATE
219     9000035901 KHYRI                        THOMAS
220     9000033301 KRISTOPHER FARRELL           JENKINS
221    10354769101 KYLA                         ROSS
222    10071888701 KYLIN JATAVIAN               HILL
223    10228833101 LAMONT                       EVANS
224    10248828901 LAUREN                       COX
225    10081650201 LOGAN JAMES                  TISCH
226    20000538201 LOPINI                       KATOA
227    10132234301 LORENZO                      FAUATEA
228    10098639001 LUCAS                        WILLIAMSON
229    10115486001 MADELYNNE                    SCHERR
230    10354757501 MADISON                      KOCIAN
231    10139005101 MAGGIE                       NICHOLS
232    10399793301 MALIK                        CURRY
233    10661535001 MALIQUE                      JACOBS
234    10119518701 MARC CRANDALL                LOVING
235            TBD MARCUS                       ALLEN
236     9000038701 MARCUS                       WALLACE II
237    10280054601 MARCUS ANDREW                ZEGAROWSKI
238    10168636501 MARGARET MARY                OTOOLE
239     9000026801 MARQUES                      TOWNES
240    10132401701 MASEN                        WAKE
241    10671858701 MASON                        MOSES
242    10357112701 MASSIMILIANO C               BORGHI
243    10304146101 MATHEU                       NELSON
244    10624048101 MATTHEW                      BUTLER
245    10308323601 MATTHEW                      CROSS
246    10185683001 MATTHEW                      MCLAIN
247    10607526301 MAURICE                      ODUM
248    10535918001 MEKHI                        LAPOINTE
249    60004611701 MICAH                        PARTEN
250    60004638901 MICHAEL                      HARLEY
251    10132397901 MICHAEL                      TANUVASA
252    10671862901 MICHAEL                      VAN RAAPHORST
253    10577147801 MICHAEL                      WILEY
254    10181802601 MICHAEL                      WILSON
255    10119848601 MICHAEL DONOVAN ALEXANDER    JORDAN
256    10168421601 MICHAEL LOGAN                MENNING
  Case 4:20-cv-03919-CW    Document 979-1   Filed 06/06/25   Page 8 of 10


257    10185813901 MICHAELA NNE              ONYENWERE
258    10095968401 MIKAYLA                   PIVEC
259    10282996201 MONTELL H                 COZART
260    10186277501 MORRELL ALEXANDER         OSLING III
261    10294012501 MYA                       HOLLINGSHED
262    10138565101 MYKEL                     JONES
263    10131645801 NAKOBE RASHOD             DEAN
264    20000942801 NATE                      SAVINO
265    10399777501 NATHAN                    ADRIAN
266    10183413501 NATHANIEL                 BRITT
267    10225092301 NATHANIEL                 PIERRE‐LOUIS
268    10064572001 NAZREON NYRU              REID
269    10132263001 NEIL                      PAUU
270    60016300801 NICHOLAS                  DINARDI
271    10335992801 NICHOLAS                  SWINEY
272    10071770601 NICHOLAS DYLAN            FITZGERALD
273    10249039901 NICHOLAS J                LOFTIN
274    10390868701 NIGEL                     JOHNSON
275    10551039701 NKOSI                     PERRY
276    10264308801 NYSIER                    BROOKS
277    10168639001 OWEN WILLIAM              SCHWEBACH
278    10119745701 PALAIE TOFAU              GAOTEOTE
279    10125674701 PARKER                    MESSICK
280    10169921901 PAUL                      STAMM
281    10139462701 PAYTN BLISS               MONTICELLI
282    10132360801 PAYTON                    WILGAR
283    10168582801 QUINCI GRACE              THOMAS
284    10406853001 QUINN RICHARD             NORDIN
285    10228421001 RASHAD                    WILLIAMS
286    10406638601 RASHAN ABDUL              GARY
287     9000043701 RASHARD                   DAVIS
288    10076433201 RILEY                     CORNELIO
289    10123600101 ROMANE JOELLE             LONGUEVILLE
290    10200954501 ROMAR                     REID
291    10404494901 RON                       TIAVAASUE
292     9000010801 RYAN                      ROLISON
293    10627241001 RYAN ALAN                 MILLER
294    10353654101 SADDIQ                    BEY
295    10345876101 SARAH JESSICA             FULLER
296    10114970001 SAVANNA J                 FAULCONER
297    10400107001 SEAN                      ALLISON
298    10553320801 SEAN                      CLIFFORD
299     9000019201 SEAN                      HJELLE
300    10226992001 SETH D                    HENIGAN
  Case 4:20-cv-03919-CW     Document 979-1   Filed 06/06/25   Page 9 of 10


301    10319845301 SHAQUEM                    GRIFFIN
302    10319846501 SHAQUILL                   GRIFFIN
303     9000020101 SHEA                       LANGELIERS
304    10406869301 SHEA CHRISTOPHER           PATTERSON
305    10264964901 SLADE                      CECCONI
306    10106258801 SOPHIE ELIZABETH           CUNNINGHAM
307    10399818401 SPENCER                    MACKE
308    10345715001 SPENCER GEORGE             JONES
309    10441953201 STANLEY                    DYE
310    10186006701 STEPHAN                    BLAYLOCK
311    10339048001 STEPHEN DEON               CARR
312    10399844501 TAJZMEL                    SHERMAN
313    10411041701 TANNER                     MORGAN
314    10264744601 TATHAN                     MARTELL
315     9000025501 TAYLER                     PERSONS
316    10272954201 TAYLOR                     RAPP
317    10168612201 TEEGAN MAKAY               MADARA
318    60004591901 TEVIN                      BROYLES
319    10174492401 TIMMY                      HERNANDEZ
320    10060763901 TIMOTHY CHAD               HANSEN
321    10559025301 TRACE                      MCSORLEY
322    10132179001 TRAJAN ATOA JAMES          PILI
323    10082362201 TRENTON                    SIMPSON
324    10539467101 TREVIS                     GIPSON
325    10174410901 TREVON                     BRADFORD
326    10393269001 TREVON                     SIDNEY
327     9000024201 TREVOR                     SCOTT
328    10569283901 TREY                       LANCE
329    60000015001 TRISTAN                    NICKELSON
330    10322162101 TROY                       CAUPAIN
331    10327318901 TROY CHARLES               FUMAGALLI
332    10126474401 TRU                        THOMPSON
333    10088826401 TYJON                      LINDSEY
334    60004098401 TYLER                      BAUM
335    10115387901 TYLER                      HERRO
336    10264878501 TYREE                      ST LOUIS
337    10132151001 URIAH                      LEIATAUA
338    10329114301 VALENTINO                  DALTOSO
339    10278788801 VANCE                      JACKSON
340    10407086901 VICTOR MORITZ              WAGNER
341    20001203001 VINCENT                    SAMPSON
342    10399825101 VINCENT TREVON             MITCHELL
343    10071816401 WESTIN BRANNING            GRAVES
344    10115926201 WILL                       LEVIS
  Case 4:20-cv-03919-CW     Document 979-1      Filed 06/06/25   Page 10 of 10


345    10130617901 WILLIAM JACOB                   FROMM
346    10038339701 XAVIER                          SIMPSON
347    10559630901 YETUR                           GROSS‐MATOS
348     9000021401 ZACHARY                         GELOF
349    10132297501 ZACHARY                         KATOA
350    10132317701 ZACHARY                         WILSON
351    10132084001 ZACHARY G                       DAWE
352    10407053501 ZAKARIE                         IRVIN
353    10234469301 ZION                            BETHEA


354   SETH BEER (pursuant to Court order)
355   BENJAMIN BURR-KIRVEN (pursuant to Court order)
356   YOELI CHILDS (pursuant to Court order)
357   JAMES OKONKWO (pursuant to Court order)
